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                                                                                      FILED
                                                                                 January 31, 2025
                            UNITED STATES DISTRICT COURT                       CLERK, U.S. DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS                         WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION                                         NM
                                                                            BY: ________________________________
                                                                                                    DEPUTY
 MARK ORTEGA,                                    §
                                                 §
                        Plaintiff,               §
                                                 §
 v.                                              §       CIVIL NO. SA-24-CV-00487-OLG
                                                 §
 SIENNA MARKETING &                              §
 CONSULTING INC.,                                §
                                                 §
                        Defendant.               §

                                     REFERRAL ORDER

        In accordance with the authority vested in the United States Magistrate Judge pursuant to

Local Rule CV-72, and Appendix C, Local Rules for the Assignment of Duties to United States

Magistrate Judges, and pursuant to 28 U.S.C. § 636(b), the instant action is hereby REFERRED

to United States Magistrate Judge Elizabeth S. Chestney for disposition of all pretrial matters.

        I. MATTERS REFERRED

        This reference confers the following duties upon the magistrate judge to whom this case is

assigned, the parties, and their counsel:

          1) The magistrate judge may exercise discretion in extending or otherwise modifying
             deadlines in the scheduling order upon a showing of good cause.

          2) The magistrate judge shall rule on all pretrial motions, pursuant to 28 U.S.C.
             § 636(b)(1)(A). Where the magistrate judge’s authority to make rulings is limited by
             statute, a recommendation to this Court shall be made in lieu of an order, pursuant
             to 28 U.S.C. § 636(b)(1)(B) and (C), unless all parties consent that the magistrate
             judge may rule on such otherwise exempt matters, pursuant to 28 U.S.C. § 636(c)(1).

          3) Unless the parties have consented to proceed to trial before the magistrate judge in
             accordance with the scheduling order, the magistrate judge will return the case to the
             undersigned judge upon the ruling and/or filing of recommendations on all pretrial
             motions or, at the latest, when all documents under Local Rule CV-16(f) are
             submitted.
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       II. MATTERS NOT REFERRED

       This reference includes any pretrial matter not specifically mentioned above; however, this

reference does not include the following:

       1) Motions for Temporary Restraining Orders and Preliminary Injunctions. This Court
          shall retain all motions for preliminary relief under Federal Rule of Civil Procedure 65.
          Such motions should be presented to this Court for disposition. Should the parties
          consent to hearing before the magistrate judge or should the Court find such hearing
          proper, Rule 65 motions shall be referred by separate order of this Court to the
          magistrate judge presiding over the other matters in the case.

       2) Settlement Agreements. Should the parties reach a settlement of this case, they should
          contact the courtroom deputy for the undersigned judge in writing or by telephone.
          Upon being informed of a settlement, this Court will enter such orders as it finds proper
          to resolve the case.

       III. OBJECTIONS AND APPEALS

       Appeals from the magistrate judge’s orders and objections to the magistrate judge’s

recommendations shall be made in compliance with 28 U.S.C. § 636(b)(1), Rule 72 of the Federal

Rules of Civil Procedure, Rule 4 of Appendix C to the Local Rules, and Question No. 31 of the

Fact Sheet. Such objections and appeals shall be limited to issues first raised before the magistrate

judge; failure to bring any defect in any order or recommendation to the attention of the magistrate

judge prior to raising the issue before this Court shall be deemed a waiver of such issue.

       It is so ORDERED.

       SIGNED this 31st day of January, 2025.

                                                              ____________________________
                                                              ORLANDO L. GARCIA
                                                              United States District Judge




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